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Court Name: U.S. District Court, Colorad

0
Division: 1

Receipt Number: COxaieec6

Cashier ID: sq

Transaction Date: 08/15/2888

Payer Nawez FRANKE GREENHOUSE LIST...

EIVIL FILING FEE
For: FRANKE GREENHDUSE LIST...
Aaount: $358.06

CREDIT CARD
fst Tendered: $358.48

Total Due: $358, 88
Total Tendered: $356.88
Change Aut: $0.86

B8-EV-1746

A fee of $45.08 will be assessed on
any retummed check.
